
Per Curiam.
Following a jury trial Appellant was convicted of first degree murder and attempted first degree murder. He was sentenced to life in prison for the murder and a consecutive 75 year sentence for the attempted murder. We affirmed his convictions and sentences on direct appeal in Stacks v. State , 177 So. 3d 255 (Fla. 1st DCA 2015).
Appellant now challenges the trial court's denial of postconviction relief on the sixteen grounds of ineffective assistance of counsel alleged in Appellant's amended motion under rule 3.850, Florida Rules of Criminal Procedure. The State responded to five of the claims, as directed by the trial court. The trial court's detailed order and attachments, including the established law the court relied upon, conclusively demonstrated that Appellant is not entitled to relief on any of the grounds alleged. Therefore, the trial court's order is AFFIRMED .
Wolf, Bilbrey, and Kelsey, JJ., concur.
